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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO


                                                                                   FILED
                                                                        UNITED STATES DISTRICT COURT
Civil Action No. 1-21-cv-01382-NYW                                           DENVER, COLORADO
                                                                                 AUG 9, 2021
                                                                          JEFFREY P. COLWELL, CLERK


 ANDREW SCHOBER,

               Plaintiff,

        v.

 BENEDICT THOMPSON, OLIVER READ,
 EDWARD J. THOMPSON, CLAIRE L. THOMPSON,
 PAUL READ, AND HAZEL DAVINA WELLS,

               Defendants.




                     PLAINTIFF’S INITIAL DISCLOSURES UNDER
                                  F.R.C.P. 26(a)(1)




 I Pro Se Defendant Oliver Read, hereby submit these Initial Disclosures pursuant to Federal
 Rule of Civil Procedure 26(a)(1), as follows:
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List of Individuals


  Name of Individual With    Address and Telephone     Subject of Information
       Information            Number (if known)
  Defendant Oliver Read     81 Oakleigh Road          Defendant has knowledge
                                                      of correspondence
                            Clayton, Bradford,
                                                      received from Plaintiff,
                            West Yorkshire
                                                      cryptocurrency mining,
                            8D14 6NP                  and questioning by the UK
                                                      Police regarding Plaintiff’s
                            United Kingdom
                                                      claims.


                            Plaintiff may be          Plaintiff has knowledge as
 Plaintiff Andrew Schober
                            contacted through his     to the acts alleged in the
                            counsel,                  complaint, including but not
                                                      limited to his investigation
                            Samuel Jonathan Leake
                                                      of the acts, the value he
                            Ballard                   asserts of his
                            Stephen David Palley      cryptocurrency,
                            Anderson Kill PC          correspondence with
                            1717 Pennsylvania         the defendants, and
                            Avenue NW                 correspondence with
                            Suite 200                 various law enforcement
                            Washington, DC 20006      agencies.
                            81 Oakleigh Road          Defendant has knowledge
 Defendant Hazel Davina
                                                      of correspondence received
 Wells                      Clayton, Bradford,
                                                      by Plaintiff and some
                            West Yorkshire
                                                      information regarding her
                            8D14 6NP                  son’s
                                                      questioning by the UK
                            United Kingdom
                                                      Police regarding
                                                      Plaintiff’s claims.
 Defendant Paul Read        10 Brook Lane             Defendant has knowledge
                            Clayton, Bradford, West   of correspondence received
                            Yorkshire                 by Plaintiff and some
                                                      information regarding his
                            8D14 6PH                  son’s
                            United Kingdom            questioning by the UK
                                                      Police regarding
                                                      Plaintiff’s claims.




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 Defendant Benedict
 Thompson                             Defendant may be              Defendant has knowledge
                                      contacted through             of correspondence
                                      undersigned counsel,          received from Plaintiff,
                                      Sarah Donahue.                cryptocurrency mining,
                                                                    design of software, and
                                                                    questioning by the UK
                                                                    Police regarding Plaintiff’s
                                                                    claims.
 Henry Burchill                       31 Ilex Crescent              Burchill has knowledge of
                                      Southampton                   cryptocurrency mining,
                                      S031 6SE                      design of software, and
                                      United Kingdom                claims alleged by Plaintiff.


 The I Pro Se. Defendant Oliver Read will supplement this list as additional information is
 learned during discovery. I reserve the right to call any witness disclosed or identified by
 any other party to this lawsuit, as amended or supplemented.
       As required by the Federal Rules of Civil Procedure, I will disclose any experts
 upon whose opinions I intend to rely on.


I.       List of Documents, Electronically Stored Information (ESI) or Tangible Things
         (in Plaintiff’s possession, custody or control)


     Description by Category of Document,                           Location
            ESI or Tangible Thing
                                                   Provided to Plaintiff as Read_000001-2
     Correspondence by Plaintiff to
     Read Defendants




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Dated: August 9, 2021.

                                     s/Oliver Read
                                     Oliver Read
                                     81 Oakleigh Road
                                     Clayton, Bradford
                                     West Yorkshire
                                     Telephone: +44 07305 170462
                                     E-mail: oliverread2001@gmail.com

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                                CERTIFICATE OF SERVICE
 I hereby certify that on August 9, 2021, I emailed the foregoing to the following
 individuals with the following email addresses:
 Samuel Jonathan Leake Ballar
 Stephen David Palley
 Anderson Kill PC
 1717 Pennsylvania Avenue NW
 Suite 200
 Washington, DC 20006
 sballard@andersonkill.com
 spalley@andersonkill.com
 Attorneys for Plaintiff Andrew Schober

Sarah Jackson Donahue
Feldmann Nagel Cantafio & Song PLLC
1875 Lawrence St., Suite 730
Denver, Colorado 80202
Telephone: (303) 813-1200
Facsimile: (303) 813-1201
Email: sdonahue@fncslaw.com

Attorneys for Defendants Benedict Thompson, Edward J.
Thompson, and Claire L. Thomps

Hazel Wells
Hazelwells44@gmail.com

 Paul Read
 Paulread66@aol.co.uk
 Defendants




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